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                       UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                   )   MDL 2804
OPIATE LITIGATION                              )
                                               )   Case No. 1:17-md-2804-DAP
This document relates to:                      )
                                               )   Judge Dan Aaron Polster
State of Alabama v. Purdue Pharma LP, et al.   )
Case No. 1:18-OP-45236-DAP (N.D. Ohio)         )


                                     EXHIBIT A
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                         UNITED STATES DISTRICT COURT
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       [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
               TO FILE AMENDED COMPLAINT UNDER SEAL

       Plaintiff seeks leave to file its amended complaint under seal in State of Alabama v. Purdue

Pharma LP, et al., Case No. 18-OP-45236 (N.D. Ohio).

       The Motion states that filing the amended complaint under seal is necessary to ensure

compliance with the following Orders:

       1.     CMO One;

       2.     Protective Order Re: DEA’s ARCOS/DADS Database, ECF Doc. 167 (hereinafter

“ARCOS Protective Order”); and

       3.     Amended Agreed Confidentiality Order, filed in City of Chicago v. Purdue Pharma

L.P., Case No. 14-CV-04361, ECF Doc. 487 (N.D. Ill.) (hereinafter “City of Chicago Protective

Order”).

       The Motion states that the amended complaint will contain information that is subject to

the following Protective Orders:

       1.     Information designated CONFIDENTIAL – SUBJECT TO PROTECTIVE

ORDER by the ARCOS Protective Order; and
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       2.     Excerpts from documents produced in The City of Chicago, Illinois v. Purdue

Pharma L.P., Case No. 14-CV-04361 (N.D. Ill.), which are subject to the City of Chicago

Protective Order, which binds Plaintiffs in MDL 2804 pursuant to CMO One.

       Plaintiff’s Motion for Leave to File an Amended Complaint Under Seal is hereby

GRANTED.

       IT IS SO ORDERED.



                                                 ____________________________________
                                                 DAN AARON POLSTER
                                                 UNITED STATES DISTRICT JUDGE

Dated:_______________________
